 8:05-cr-00267-LSC-TDT          Doc # 93      Filed: 01/24/06     Page 1 of 5 - Page ID # 325


                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 8:05CR267

                                                     USM Number 20326-047

ALFREDO RODRIGUEZ JR.
               Defendant
                                                     Ernest H. Addison

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Information on October 6, 2005.

ACCORDINGLY, the Court has adjudicated that the Defendant is guilty of the following offense:

                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded                Number


 21:844 CONTROLLED SUBSTANCE - POSSESSION              June 24, 2005                   1s

The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Counts I - III of the Indictment are dismissed on the motion of the United States as to this
Defendant only.

IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
Defendant shall notify the Court and United States attorney of any material change in the
Defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                               January 19, 2006

                                                                       s/Laurie Smith Camp
                                                                       United States District Judge

                                                                          January 24, 2006
 8:05-cr-00267-LSC-TDT            Doc # 93      Filed: 01/24/06       Page 2 of 5 - Page ID # 326


                                            PROBATION

The Defendant is hereby sentenced to probation for a term of 2 Years.

The Defendant shall not commit another federal, state, or local crime.

The Defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The Defendant shall refrain from any unlawful use of a controlled substance. The Defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The Defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the Defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

       The Defendant shall comply with the standard conditions that have been adopted by this
Court (set forth below). The Defendant shall also comply with any additional conditions.

                        STANDARD CONDITIONS OF SUPERVISION

1.      the Defendant shall not leave the judicial district without the permission of the Court or
        probation officer;
2.      the Defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the Defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the Defendant shall support his or her dependents and meet other family responsibilities;
5.      the Defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the Defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the Defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the Defendant shall not frequent places where controlled substances are illegally sold,
        used, distributed, or administered;
9.      the Defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the Defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the Defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the Defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the Court;
13.     as directed by the probation officer, the Defendant shall notify third parties of risks that may
        be occasioned by the Defendant’s criminal record or personal history or characteristics and
        shall permit the probation officer to make such notifications and to confirm the Defendant’s
        compliance with such notification requirement.
 8:05-cr-00267-LSC-TDT             Doc # 93       Filed: 01/24/06         Page 3 of 5 - Page ID # 327


                            SPECIAL CONDITIONS OF SUPERVISION


1.     Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
       from excessive use of alcohol, the Defendant shall not purchase or possess, use, distribute or
       administer any alcohol, just the same as any other narcotic or controlled substance.

2.     The Defendant shall be subject to the search of the Defendant’s premises, vehicle or person, day or
       night, with or without a warrant, at the request of the United States Probation officer to determine the
       presence of alcohol and/or controlled substances, firearms or any other contraband. Any such items
       found may be seized by the United States Probation officer. This condition may be invoked with or
       without the cooperation of law enforcement officers.

3.     The Defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
       or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
       substance abuse, as directed by the United States Probation officer.

4.     Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
       Officer.

5.     The Defendant shall provide the United States Probation officer with access to any requested financial
       information.

6.     Pursuant to 18 U.S.C. § 3563 (a) (5), the Defendant shall submit to a drug test within fifteen (15) days
       of release on supervised release and at least two (2) periodic drug tests thereafter to determine
       whether the Defendant is using a controlled substances in an amount determined by the probation
       officer. Further, the Defendant shall submit to such testing as requested by any United States
       Probation officer to detect the presence of controlled substances in the Defendant’s body fluids and
       to determine whether the Defendant has used any of those substances. Based on the Defendant’s
       ability to pay, the Defendant shall pay for the collection of urine samples to be tested for the presence
       of controlled substances in an amount determined by the probation officer.

7.     The Defendant shall report to the United States Probation office for the District of Nebraska between
       the hours of 8:00am and 4:30pm, 111 South 18th Plaza, Suite C79, Omaha Nebraska, (402) 661-
       7555, within seventy-two (72) hours of being placed on probation and, thereafter, as directed by the
       probation officer.




Following the imposition of sentence, the Court advised the Defendant of his right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.
 8:05-cr-00267-LSC-TDT         Doc # 93     Filed: 01/24/06     Page 4 of 5 - Page ID # 328


                           CRIMINAL MONETARY PENALTIES


       The Defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

      Total Assessment                     Total Fine                  Total Restitution

            $25.00                          $500.00



The Court has determined that the Defendant does not have the ability to pay interest and it is
ordered that:

       interest requirement is waived.



                                             FINE

A Fine in the amount of $500.00 is imposed.

The Defendant shall pay interest on any fine or restitution of more than $2,500, unless the
fine or restitution is paid in full before the fifteenth day after the date of the judgment,
pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedule of Payments
may be subject to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).

                                         RESTITUTION

       No restitution was ordered.
 8:05-cr-00267-LSC-TDT              Doc # 93       Filed: 01/24/06    Page 5 of 5 - Page ID # 329


                                     SCHEDULE OF PAYMENTS

Having assessed the Defendant’s ability to pay, the Court orders that payment of the total criminal
monetary penalties shall be due as follows:


        The Defendant shall pay the special assessment in the amount of $25.00.

        Special instructions regarding the payment of criminal monetary penalties:

        $50.00 each month to begin on February 28, 2006 and to be paid by the end of each month
until paid in full


Unless the Court has expressly ordered otherwise in the special instruction above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
Court, unless otherwise directed by the Court, the probation officer or the United States attorney.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 111
S. 18th Plaza, Suite 1152, Omaha, NE 68102-1322.

The Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The Defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the Court. In the event a Defendant is able to make a full or substantial
payment toward the remaining criminal monetary penalty, he or she shall do so immediately.

The Defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) community restitution, (6) fine interest, (7) penalties, and
(8) costs, including cost of prosecution and Court costs.



CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
